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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

___________________________________________
                                           )
AYMAN SAIED JOUMAA                         )
                        Plaintiff,         )
                                           )                      Civil Action No. 17-2780 (TJK)
      v.                                   )
                                           )
STEVEN MNUCHIN, et al.                     )
                        Defendants.        )
___________________________________________)


                                            NOTICE


       Pursuant to LCvR 7(n)(1), “[i]n cases involving the judicial review of administrative

agency actions . . . counsel shall provide the Court with an appendix containing copies of those

portions of the administrative record that are cited or otherwise relied upon in any memorandum

in support or in opposition to any dispositive motion.” This appendix “shall be prepared jointly

by the parties and filed within 14 days following the final memorandum on the subject motion.”

LCvR 7(n)(2).


       As a result of Defendants’ Motion for Leave to File a Sur-Reply, counsel has agreed that

the joint appendix would be most appropriately filed 14 days from the Court’s resolution of the

pending motion, as Defendants’ Sur-Reply in Support of Their Motion to Dismiss or, In the

Alternative, for Summary Judgment and In Opposition to Plaintiff’s Cross-Motion for Summary

Judgment would prove the “final memorandum” on the subject motion. For this reason, absent

the Court’s direction otherwise, counsel does not intend to file the joint appendix on June 8, 2018,

as it would be otherwise required to do. Counsel for Plaintiff and Defendants have agreed to file
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the joint appendix 14 days from the Court’s resolution of the pending Motion for Leave to File a

Sur-Reply.


Dated: June 8, 2018


                                                           Respectfully submitted, 	


                                                           /s/ Erich C. Ferrari, Esq.
                                                           Erich C. Ferrari, Esq. 	
                                                           Ferrari & Associates, P.C.
                                                           1455 Pennsylvania Ave., NW
                                                           Suite 400 	
                                                           Washington, D.C. 20004
                                                           Telephone: (202) 280-6370
                                                           Fax: (877) 448-4885 	
                                                           Email: ferrari@falawpc.com
                                                           DC Bar No. 978253




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